
The People of the State of New 
	York, Respondent,&nbsp; 
againstWalter Warrington, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Brenda Rivera, J.), rendered March 25, 2015, convicting him, upon his plea of guilty, of attempted assault in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Brenda Rivera, J.), rendered March 25, 2015, affirmed.
Defendant's present challenge to his plea allocution, to the extent preserved for appellate review, is without merit. Our review of the record reveals that defendant "intelligently and understandingly waived [his] constitutional rights" (People v Conceicao, 26 NY3d 375, 383 [2015]; see Boykin v Alabama, 395 US 238 [1969]; People v Tyrell, 22 NY3d 359, 366 [2013]), and entered an otherwise knowing and voluntary guilty plea. Furthermore, as defendant pleaded guilty to an uncharged lesser offense, no factual basis for the plea was necessary (see People v Moore, 71 NY2d 1002, 1006 [1988]; People v Clairborne, 29 NY2d 950, 951 [1972]).
In any event, the only relief defendant requests is a dismissal of the accusatory instrument, and he expressly requests this Court to affirm his conviction if it does not grant a dismissal. Since dismissal is not warranted (see People v Teron, 139 AD3d 450 [2016]), we affirm on this basis as well (see People v Diaz, 112 AD3d 423 [2013], lv denied 23 NY3d 1036 [2014]).    
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: February 21, 2017










